Case 8:20-cr-00120-WFJ-JSS Document 67 Filed 02/15/22 Page 1 of 31 PagelD 237

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION vs
UNITED STATES OF AMERICA
V. CASE NO. 8:20-cr-120-WFJ-JSS

18 U.S.C. § 371
STEVEN CHUN 42 U.S.C. § 1320a-7b(b)(2)
and 42 U.S.C. § 1320a-7b(b)(1)
DANIEL TONDRE 18 U.S.C. § 1028(a)(7)
SUPERSEDING INDICTMENT
The Grand Jury charges:
COUNT ONE
(Conspiracy)

At times relevant to this Superseding Indictment:

A. Introduction

Conspirators
1. Defendant STEVEN CHUN (“Chun”) was a doctor licensed to

practice medicine in Florida. Chun owned and maintained a pain
management medical practice located in Sarasota, Florida, wherein Chun
wrote a large volume of Schedule II prescriptions. Chun was an enrolled
Medicare provider, and he maintained identification numbers with Medicare
and the Drug Enforcement Administration, among others, associated with

Chun personally and with his medical practice.

 
Case 8:20-cr-00120-WFJ-JSS Document 67 Filed 02/15/22 Page 2 of 31 PagelD 238

2: Defendant DANIEL TONDRE (“Tondre’”’) was a Florida
resident employed as a sales representative and trainer for Insys Therapeutics,
Inc. (“Insys”), whose sales territory included Chun and his medical practice.
Tondre was compensated by Insys, in part, with sales commissions based
upon paid prescriptions of Subsys, an Insys medication, written by
practitioners in Tondre’s sales territory, including Chun.

a Insys was a company incorporated in Delaware and
headquartered in Arizona. Alec Burlakoff (““Burlakoff’) held executive
management positions at Insys, including Regional Sales Manager for the
Southeast Region and Vice-President of Sales. Michael Babich (“Babich”) was
the Insys President and Chief Executive Officer. Liz Gurrieri (“Gurrieri”) was
employed at, and at one point supervised, the Insys Reimbursement Center
(“TRC”).

4. Pharmacist | owned and operated Pharmacy 1 in Bradenton,
Florida, where many of Chun’s Subsys prescriptions were filled and
dispensed.

Medicare

a Medicare was a federal health care benefit program that provided

coverage for people age 65 and older, people under 65 with certain disabilities,

and people of all ages with end-stage renal disease. Individuals who received
Case 8:20-cr-00120-WFJ-JSS Document 67 Filed 02/15/22 Page 3 of 31 PagelD 239

benefits from Medicare were commonly referred to as Medicare beneficiaries.

6. Medicare included coverage under component parts, including
Part B and Part D. Part B covered outpatient health care services, such as
physician services and supplies. Part D provided prescription drug coverage to
beneficiaries who opted for Part D coverage. Covered Part D drugs were
defined as those that were used for a medically-accepted indication in a
Medicare-approved compendium. The Part D program was administered by a
number of Part D Plans. Medicare was administered by the Centers for
Medicare and Medicaid Services (“CMS”), which was an agency of the United
States Department of Health and Human Services (“HHS”). CMS reimbursed
Part D Plans for covered drugs.

7. Chun was an enrolled Medicare provider who certified to
Medicare that he would abide by and comply with all Medicare rules and
regulations, including that he would refrain from making any false statements
or violating the Federal anti-kickback statute.

Subsys

8. Opioids were a therapeutic class of drugs used to relieve pain.
Fentanyl was among the most potent opioids available for human use, and
was classified as a Schedule II controlled substance under the Controlled

Substances Act (“CSA”), meaning that it has a high potential for abuse. Insys
Case 8:20-cr-00120-WFJ-JSS Document 67 Filed 02/15/22 Page 4 of 31 PagelID 240

developed and owned a drug called Subsys, a liquid formulation of fentanyl to
be applied under the tongue (a sublingual spray), which allowed it to rapidly
enter the bloodstream.

9. In or around January 2012, the United States Food and Drug
Administration (“FDA”) approved Subsys for the management of
breakthrough pain in patients 18 years or older with cancer who were already
receiving, and who were already tolerant to, opioid therapy for their underling
persistent cancer pain. Subsys was in a category of fentanyl-based rapid onset
opiate drugs known as Transmucosal Immediate Release Fentanyl (“TIRF”)
products. Because of the risk of misuse, abuse, addiction, and overdose
associated with TIRF drugs, including Subsys, the FDA designed and
mandated a TIRF Risk Evaluation and Mitigation Strategy (“TIRF REMS’”).
Among other things, the TIRF-REMS program required that TIRF medicines
only be dispensed to an outpatient when the practitioner prescribing the drug,
the patient, and the pharmacy dispensing the TIRF drugs were all educated
about the safe and effective use of TIRF drugs, including the risks and
indications for TIRF drugs.

10. Chun was a TIRF REMS enrolled prescriber who was issued a
TIRF REMS enrollment identification number. As a TIRF REMS enrolled

prescriber, Chun was required to meet certain program requirements including

 
Case 8:20-cr-00120-WFJ-JSS Document 67 Filed 02/15/22 Page 5 of 31 PagelID 241

that he: (1) successfully complete a knowledge assessment, (2) agree to provide
a medication guide to patients receiving TIRF medications and to review such
guide with the patients, and (3) maintain TIRF REMS patient-prescriber
agreement forms signed by patients receiving TIRF medications. Further,
TIRF REMS prescribers like Chun were required to certify and acknowledge
that TIRF drugs, including Subsys, were "indicated only for the management
of breakthrough pain in patients with cancer, who are already receiving, and
who are tolerant to, around-the-clock opioid therapy for their underlying
persistent pain" and that “the initial starting dose for TIRF medicines is the
lowest dose...and that patients must be titrated individually.”

11. | Subsys was sold in dosage strengths of 100, 200, 400, 600, 800,
1,200, and 1,600 micrograms. Subsys, like other TIRF drugs, was expensive.
Depending upon the dosage and number of units prescribed, a Subsys
prescription could cost thousands of dollars each month, and was often
subsidized by federal health care benefit programs like Medicare or by
commercial insurance. To manage and control prescription costs, many
insurers used pharmacy benefit managers (“PBMs’”). Most insurers required
prior authorizations before paying for TIRF medications like Subsys. In
general, patients had to receive a particular medical diagnosis before an

insurer would pay for Subsys.
Case 8:20-cr-00120-WFJ-JSS Document 67 Filed 02/15/22 Page 6 of 31 PageID 242

The Conspiracy
12. From in or around mid-August 2012, through in or around July

2015, in the Middle District of Florida and elsewhere, the defendants,

STEVEN CHUN

and
DANIEL TONDRE,

did willfully and knowingly, combine, conspire, confederate, and agree with
each other and with others known and unknown to the Grand Jury, including
Insys executives Burlakoff, Babich, Gurrieri, and others, and Pharmacist 1, to
commit offenses against the United States, namely:

i. soliciting and receiving remuneration (kickbacks and
bribes), in violation of 42 U.S.C. § 1320a-7b(b)(1) (the Federal anti-kickback
statute); and

li. offering and paying remuneration (kickbacks and bribes),
in violation of 42 U.S.C. §1320a-7b(b)(2) (the Federal anti-kickback statute).
Manner and Means of the Conspiracy
13. The manner and means by which defendants Chun and Tondre
and their co-conspirators sought to accomplish the purposes of the conspiracy
included, among others:
a. It was part of the conspiracy that Insys, by and through its

officers, managers, and employees, would and did design and implement a
Case 8:20-cr-00120-WFJ-JSS Document 67 Filed 02/15/22 Page 7 of 31 PagelD 243

program known as the Insys Reimbursement Center (“IRC”) to facilitate the
approval of insurance forms, including those submitted for Chun’s Medicare
patients, that falsely included and misrepresented a cancer diagnosis or other
false and misleading diagnoses or conditions to ensure approval of and
payment for Subsys prescriptions by Medicare and other insurers and PBMs.

b. It was further part of the conspiracy that, due to the
limited number of patients suffering from breakthrough cancer pain, Insys, by
and through its officers, managers, and employees, would and did design and
implement illegal kickback and bribery schemes to induce Chun, and others,
to prescribe Subsys, instead of other medications, and for conditions other
than breakthrough cancer pain. |

C. It was further part of the conspiracy that Insys would and
did hire and select sales representatives, such as conspirator Tondre, and
other Insys employees, for certain high Subsys-prescribing doctors, including
Chun, to ensure and maintain Chun’s high-prescribing practices and to
facilitate and secure insurance approvals of Subsys prescriptions for Chun’s
patients.

d. It was further part of the conspiracy that, in order to

. conceal and disguise that kickbacks and bribes were being paid to induce

Chun and other doctors to prescribe Subsys, Insys would and did falsely
Case 8:20-cr-00120-WFJ-JSS Document 67 Filed 02/15/22 Page 8 of 31 PagelD 244

designate payments to Chun and other doctors as "honoraria" for purportedly
providing educational presentations regarding Subsys ("Speaker Programs").

eg, It was further part of the conspiracy that Insys would and
did identify and select Chun and other like doctors to participate in the Insys
Speaker Programs based on their high-prescribing practices.

f. It was further part of the conspiracy that Insys, by and
through its officers, managers, and employees, would and did design and
implement the Area Business Liaison (ABL) program, which hired ABLs for
large Subsys-prescribers, like Chun, to facilitate an increase in prescriptions
and dosages of Subsys and the approval of insurance forms, including those
submitted for Medicare patients.

g. It was further part of the conspiracy that Chun and others
at Insys would and did enter into sham agreements to pay Chun to provide
purported Speaker Programs, and would and did include language in the
sham agreements that falsely and fraudulently stated: (i) the agreements had
been entered into “pursuant to arm’s length negotiations;” (ii) the Speaker
Programs would be "of a professional quality conforming to generally
accepted industry standards and practices" and (iii) for Chun’s participation

in the Speaker Programs, he would be paid an amount consistent with "fair

market value."
Case 8:20-cr-00120-WFJ-JSS Document 67 Filed 02/15/22 Page 9 of 31 PagelD 245

h. It was further part of the conspiracy that conspirators
would and did solicit, offer, and pay Chun over $275,000 in illegal kickbacks
and bribes from Insys for providing purported Speaker Programs under the
sham agreements.

1. It was further part of the conspiracy that Chun, Tondre,
employees of Insys, and others would and did conceal and disguise that
Chun's purported Speaker Programs for Insys were a sham and facade, in
that, the purported programs: (i) did not include an appropriate audience of
licensed practitioners seeking educational information regarding Subsys;

(ii) repeatedly included the same attendees, including Pharmacist 1, on
multiple dates; (iii) did not include any presentation or a very limited
presentation by Chun about Subsys; and (iv) were documented using false
and fraudulent Speaker Program sign-in sheets that included names and
forged signatures of licensed practitioners, including Chun’s employees, who
did not attend and were not present, and whose identifying information was
used without lawful authority.

j. It was further part of the conspiracy that Chun, Tondre,
and other Insys sales representatives and ABLs would and did submit, and

cause to be submitted, to Insys, including through third party administrators,
Case 8:20-cr-00120-WFJ-JSS Document 67 Filed 02/15/22 Page 10 of 31 PagelD 246

these false and fraudulent Speaker Program sign-in sheets to facilitate and
ensure that Chun was paid for the purported Speaker Programs.

k. It was further part of the conspiracy that, in exchange for
the illegal kickbacks and bribes, Chun would and did: (i) increase his average
Subsys prescriptions, both by number and by dosage, which were tracked by
Insys on a weekly basis, including some prescriptions which were ineligible
for coverage because the patient was not suffering from breakthrough cancer
pain; and (ii) cause the submission of increased claims for Chun’s Subsys
prescriptions to insurers and PBMs, resulting in authorized payments from
the insurers and PBMs, including Medicare.

L. It was further part of the conspiracy that Pharmacist 1 and
others on his behalf would and did communicate with Tondre, Chun, and
other Insys Reimbursement Center employees to complete and submit prior
authorizations to PBMs and insurers to approve and to receive payments for
Chun’s Subsys prescriptions dispensed by Pharmacy 1, including payments
from Medicare.

m. It was further part of the conspiracy that Pharmacist 1

would and did share some of the proceeds received from dispensing Chun’s
paid Subsys prescriptions with Chun under the guise of a purported consulting

agreement.

10
Case 8:20-cr-00120-WFJ-JSS Document 67 Filed 02/15/22 Page 11 of 31 PagelD 247

n. It was further part of the conspiracy that the conspirators,
including Insys executives and Pharmacist 1, would and did engage in
multiple meetings, enter into agreements, perform acts, and make statements,
to promote and achieve the objects of the conspiracy and to hide and conceal
the purposes of the conspiracy, including the creation of false heath care
records and other acts committed in furtherance thereof.

Overt Acts
14. In furtherance of the conspiracy, and to accomplish its purposes
and objects, defendants Chun, Tondre, and their co-conspirators committed or
caused the commission of the following overt acts, among others, in the
Middle District of Florida and elsewhere:

a. On or about August 15, 2012, shortly after joming the
company, Burlakoff and an Insys sales representative assigned to Southwest
Florida met with Chun and Chun’s then-girlfriend at a Sarasota restaurant to
discuss paying Chun kickbacks and bribes as a purported speaker for the Insys
Speaker Programs in return for Chun prescribing Subsys and increasing the
dosage and units of Subsys, a process known as titration.

b. On or about August 25, 2012, Chun’s assigned sales
representative sent Babich an email, copying Burlakoff, stating that Chun

“[s]cripts have dropped off as he has told me some of his patients are

11

 
Case 8:20-cr-00120-WFJ-JSS Document 67 Filed 02/15/22 Page 12 of 31 PagelD 248

preferring [a competitor]. But he continues to tell me that he will continue to
prescribe Subsys whenever he can. I think using him as a speaker will cause
things to pick back up again. I have two programs planned so far.”

é. On or about December 6, 2012, Insys conspirators hired
and incentivized Tondre, who had previously worked as Chun’s sales
representative for another pharmaceutical company that marketed fentanyl
products, to work as an Insys sales representative serving the West Florida
area that included Chun, in a continued effort to induce Chun to increase his
Subsys prescribing.

d. On or about March 12, 2013, Burlakoff sent an email to
Tondre, and others, asking, “[w]here is Dr. Chun, we cannot go a single day
without a prescription from Dr. Chun. I do not want to hear any excuses, we
pay good money here (we need | a day from Chun).”

S In or about March 2013, Chun began receiving payments
from Pharmacist 1, under a purported consultant agreement, at the rate of

$1500 per hour.

f. On or about September 18, 2013, in an effort to further induce
Chun to increase his Subsys-prescribing, Babich tendered an employment offer,
including salary and a $1000 monthly car allowance, to Chun’s then-girlfriend to

work as an Insys Area Business Liaison beginning September 23, 2013.

12
Case 8:20-cr-00120-WFJ-JSS Document 67 Filed 02/15/22 Page 13 of 31 PagelD 249

g. On or about September 23, 2013, Chun and Chun’s then-
girlfriend, as co-owners, acquired a 2013 BMW Sedan to use in her role as an
Insys Area Business Liason.

h. On or about October 3, 2013, not satisfied with the
increase in Chun’s Subsys prescriptions, Burlakoff sent an email to Tondre
describing what was expected in exchange for the kickbacks and bribes paid
to Chun that read:

Where is Chun?

Not even close to meeting anyone’s expectations thus far,

perhaps- we had failed in setting our expectations? We

were looking to go from 40 percent market share to 90

percent?

Dan, please do not respond with a 5 page e mail bashing

me ... | have to sit in the corporate office and answer these

questions face to face. It is not fun, and the recent move

we made on the ABL appears as if it is potentially not

worth it?

1. On or about May 20, 2014, Chun, Tondre, and other Insys

co-conspirators arranged a purported Speaker Program at a restaurant in Ft.
Myers, Florida, purportedly attended by one licensed practitioner.

i, On or about May 20, 2014, Chun, Tondre, and others

created or caused to be created a false and fraudulent Speaker Program sign-in

13
Case 8:20-cr-00120-WFJ-JSS Document 67 Filed 02/15/22 Page 14 of 31 PagelD 250

sheet that included the name and forged signature of a licensed practitioner
who did not attend the purported May 20 Speaker Program.

k. On or about May 20, 2014, Chun, Tondre, and others
submitted or caused to be submitted to Insys, a false and fraudulent Speaker
Program sign-in sheet that included, among other identifying information, the
name and forged signature of a licensed practitioner who did not attend the
purported May 20 Speaker Program.

1. In or about early summer 2014, Insys paid and Chun
received a $3,000 payment, via check, as a kickback and bribe for Chun’s role
in the purported May 20, 2014 Speaker Program.

m. Onorabout May 22, 2014, Chun, Tondre, and other Insys
co-conspirators arranged a purported Speaker Program at a restaurant in
Longboat Key, Florida, which included only Chun, Tondre, and one other
licensed practitioner, who was also an Insys speaker.

n. On or about May 22, 2014, Chun, Tondre, and others
submitted or caused to be submitted to Insys three sign-in sheets for the
purported May 22 Speaker Program.

O. In or about early summer 2014, Insys paid and Chun
received a $3,000 payment, via check, as a kickback and bribe for Chun’s role

in the purported May 22, 2014 Speaker Program.

14
Case 8:20-cr-00120-WFJ-JSS Document 67 Filed 02/15/22 Page 15 of 31 PageID 251

Dp. On or about October 6, 2014, Chun, Tondre, and other
Insys co-conspirators arranged a purported Speaker Program at a restaurant in
Sarasota, Florida, attended by Pharmacist 1, who was the only licensed
practitioner to attend.

q. On or about October 6, 2014, Chun, Tondre, and others
created or caused to be created false and fraudulent Speaker Program sign-in
sheets that included the names and forged signatures of licensed practitioners
who did not attend the purported October 6 Speaker Program.

r. On or about October 6, 2014, Chun, Tondre, and others
submitted and caused to be submitted to Insys (through a third party
administrator), false and fraudulent Speaker Programs sign-in sheets that
included, among other identifying information, the names and forged
signatures of two other licensed practitioners who did not attend the purported
October 6 Speaker Program.

Ss. On or about October 10, 2014, Insys paid (through a third
party administrator) and Chun received check number 27004 in the amount of
$3,000 as a kickback and bribe for Chun’s role in the purported October 6,

2014 Speaker Program.

t. On or about October 8, 2014, Chun, Tondre, and other

Insys co-conspirators arranged a purported Speaker Program at a restaurant in

15
Case 8:20-cr-00120-WFJ-JSS Document 67 Filed 02/15/22 Page 16 of 31 PagelID 252

Bradenton, Florida.

u. On or about October 8, 2014, Chun, Tondre, and others
created and caused to be created a false and fraudulent Speaker Program sign-
in sheets that included the names and forged signatures of two licensed
practitioners who did not attend the purported October 8 Speaker Program.

Vv. On or about October 8, 2014, Chun, Tondre, and others
submitted and caused to be submitted to Insys (through a third-party
administrator), false and fraudulent Speaker Program sign-in sheets that
included, among other identifying information, the names and forged
signatures of two licensed practitioners who did not attend the purported
October 8 Speaker Program.

w. Onor about October 13, 2014, Insys paid (through a third
party administrator) and Chun received check number 27066 in the amount of
$3000 as a kickback and bribe for Chun’s role in the purported October 8,
2014 Speaker Program.

X. On or about October 14, 2014, Chun, Tondre, and other
Insys co-conspirators arranged a purported Speaker Program at a restaurant in
Sarasota, Florida attend by Pharmacist 1, who was the only licensed
practitioner to attend.

y- On or about October 14, 2014, Chun, Tondre, and others

16
Case 8:20-cr-00120-WFJ-JSS Document 67 Filed 02/15/22 Page 17 of 31 PagelD 253

created or caused to be created a false and fraudulent Speaker Program sign-in
sheet that included the name and forged signature of another licensed
practitioner who did not attend the purported October 14 Speaker Program.

Zz. On or about October 14, 2014, Chun, Tondre, and others
submitted and caused to be submitted to Insys (through a third-party
administrator), a false and fraudulent Speaker Program sign-in sheet that
included, among other identifying information, the name and forged signature
of another licensed practitioner who did not attend the purported October 14
Speaker Program.

aa. Onor about October 16, 2014, Insys paid (through a third
party administrator) and Chun received check number 27190 in the amount of
$3000 as a kickback and bribe for Chun’s role in the purported October 14,
2014 Speaker Program.

bb. Onor about November 5, 2014, Chun, Tondre, and other
Insys co-conspirators arranged a purported Speaker Program at a restaurant in
Sarasota, Florida, attended by Pharmacist 1, who was the only licensed
practitioner to attend.

cc. Onor about November 5, 2014, Chun, Tondre, and others
created or caused to be created false and fraudulent Speaker Program sign-in

sheet that included the name and forged signature of another licensed

17
Case 8:20-cr-00120-WFJ-JSS Document 67 Filed 02/15/22 Page 18 of 31 PagelD 254

practitioner who did not attend the purported November 5 Speaker Program.

dd. Onor about November 5, 2014, Chun, Tondre, and
others submitted and caused to be submitted to Insys (through a third-party
administrator), a false and fraudulent Speaker Program sign-in sheet that
included, among other identifying information, the name and forged signature
of another licensed practitioner who did not attend the purported November 5
Speaker Program.

ee. Onor about November 7, 2014, Insys paid (through a
third party administrator) and Chun received check number 27760 in the
amount of $3,000 as a kickback and bribe for Chun’s role in the purported
November 5, 2019 Speaker Program.

ff. On or about February 12, 2015, Chun, Tondre, and other
Insys co-conspirators arranged a purported Speaker Program at a restaurant in
Sarasota, Florida, attended by Pharmacist 1, who was the only licensed
practitioner to attend.

gg. On or about February 12, 2015, Chun, Tondre, and others
created or caused to be created false and fraudulent Speaker Program sign-in
sheet that included the name and forged signature of another licensed
practitioner who did not attend the purported February 12 Speaker Program.

hh. On or about February 12, 2015, Chun, Tondre, and others

18
Case 8:20-cr-00120-WFJ-JSS Document 67 Filed 02/15/22 Page 19 of 31 PagelID 255

submitted and caused to be submitted to Insys (through a third-party
administrator), a false and fraudulent Speaker Program sign-in sheet that
included, among other identifying information, the name and forged signature
of another licensed practitioner who did not attend the purported February 12
Speaker Program.

il. On or about February 17, 2015, Insys paid (through a third
party administrator) and Chun received check number 29339 issued by Insys's
third-party payer in the amount of $3,000 as a kickback and bribe for Chun’s
role in the purported February 12, 2015 Speaker Program.

jj. On or about April 14, 2015, Chun, Tondre, and other
Insys co-conspirators arranged a purported Speaker Program at a restaurant in
Sarasota, Florida, attended by Pharmacist 1, and two other licensed
practitioners.

kk. On or about April 14, 2015, Chun, Tondre, and others
created or caused to be created false and fraudulent Speaker Program sign-in
sheet that included the name and forged signature of licensed practitioner who
did not attend the purported April 14 Speaker Program.

ll. On or about April 14, 2015, Chun, Tondre, and others
submitted and caused to be submitted to Insys (through a third-party

administrator), a false and fraudulent Speaker Program sign-in sheet that

19
Case 8:20-cr-00120-WFJ-JSS Document 67 Filed 02/15/22 Page 20 of 31 PagelID 256

included, among other identifying information, the name and forged signature
of the licensed practitioner who did not attend the purported April 14 Speaker
Program.

mm. On or about May 4, 2015, Insys paid (through a third
party administrator) and Chun received check number 30597 in the amount of
$3,000 as a kickback and bribe for Chun’s role in the purported April 14, 2015
Speaker Program.

nn. Onor about April 28, 2015, Chun, Tondre, and other
Insys co-conspirators arranged a purported Speaker Program at a restaurant in
Sarasota, Florida, attended by two licensed practitioners, Pharmacist 1 and
another doctor who was also an Insys speaker.

00. Onor about April 28, 2015, Chun, Tondre, and others
created or caused to be created false and fraudulent Speaker Program sign-in
sheet that included the name and forged signature of another licensed
practitioner who did not attend the purported April 28 Speaker Program.

pp. On or about April 28, 2015, Chun, Tondre, and others
submitted and caused to be submitted to Insys (through a third-party
administrator), a false and fraudulent Speaker Program sign-in sheet that
included, among other identifying information, the name and forged signature

of another licensed practitioner who did not attend the purported April 28

20
Case 8:20-cr-00120-WFJ-JSS Document 67 Filed 02/15/22 Page 21 of 31 PagelD 257

Speaker Program.

qq. Onor about May 5, 2015, Insys paid (through a third
party administrator) and Chun received check number 31021 in the amount of
$3,000 as a kickback and bribe for Chun’s role in the purported April 28, 2015
Speaker Program.

Ir. On or about May 5, 2015, Chun, Tondre, and other Insys
co-conspirators arranged a purported Speaker Program at a restaurant in
Sarasota, Florida, attended by Pharmacist 1, who was the only licensed
practitioner to attend.

ss. On or about May 5, 2015, Chun, Tondre, and others
created or caused to be created false and fraudulent Speaker Program sign-in
sheet that included the name and forged signature of another licensed
practitioner who did not attend the purported May 5 Speaker Program.

tt. On or about May 5, 2015, Chun, Tondre, and others
submitted and caused to be submitted to Insys (through a third-party
administrator), a false and fraudulent Speaker Program sign-in sheet that
included, among other identifying information, the name and forged signature
of another licensed practitioner who did not attend the purported May 5
Speaker Program.

uu. On or about May 11, 2015, Insys paid (through a third

21
Case 8:20-cr-00120-WFJ-JSS Document 67 Filed 02/15/22 Page 22 of 31 PagelD 258

party administrator) and Chun received check number 31121 in the amount of
$3,000 as a kickback and bribe for Chun’s role in the purported May 5, 2015
Speaker Program.

vv. Onor about May 8, 2015, Chun, Tondre and other Insys
co-conspirators arranged a purported Speaker Program at a restaurant in
Naples, Florida, attended by Pharmacist 1, who was the only licensed
practitioner to attend.

ww. Onor about May 8, 2015, Chun, Tondre, and others
created or caused to be created false and fraudulent Speaker Program sign-in
sheet that included the name and forged signature of another licensed
practitioner who did not attend the purported May 8 Speaker Program.

xx. Onor about May 8, 2015, Chun, Tondre, and others
submitted and caused to be submitted to Insys (through a third-party
administrator), a false and fraudulent Speaker Program sign-in sheet that
included, among other identifying information, the name and forged signature
of another licensed practitioner who did not attend the purported May 8
Speaker Program.

yy. Onor about May 12, 2015, Insys paid (through a third
party administrator) and Chun received check number 31186 in the amount of

$4,700 as a kickback and bribe for Chun’s role in the purported May 8, 2015

22
Case 8:20-cr-00120-WFJ-JSS Document 67 Filed 02/15/22 Page 23 of 31 PagelD 259

Speaker Program.

zz. Onor about June 16, 2015, Chun, Tondre, and other Insys
co-conspirators arranged a purported Speaker Program at a restaurant in
Sarasota, Florida, attended by Pharmacist 1, and another licensed practitioner.

aaa. Onor about June 16, 2015, Chun, Tondre, and others
created or caused to be created false and fraudulent Speaker Program sign-in
sheet that included the name and forged signature of licensed practitioner who
did not attend the purported June 16 Speaker Program.

bbb. On or about June 16, 2015, Chun, Tondre, and others
submitted and caused to be submitted to Insys (through a third-party
administrator), a false and fraudulent Speaker Program sign-in sheet that
included, among other identifying information, the name and forged signature
of the licensed practitioner who did not attend the purported June 16 Speaker
Program.

cece. Onor about June 22, 2015, Insys paid (through a third
party administrator) and Chun received check number 32230 in the amount of
$3,000 as a kickback and bribe for Chun’s role in the purported June 16, 2015
Speaker Program.

All in violation of 18 U.S.C. § 371.

23
Case 8:20-cr-00120-WFJ-JSS Document 67 Filed 02/15/22 Page 24 of 31 PagelD 260

COUNTS TWO THROUGH SIX
(Offering and Paying Remuneration—Kickbacks and Bribes)

1. Paragraphs 1 through 11 and 13 of Count One of this
Superseding Indictment are re-alleged and incorporated by reference as though
fully set forth herein.

2. On or about the dates set forth below, in the Middle District of
Florida and elsewhere, the defendant,

DANIEL TONDRE,
did knowingly and willfully offer and pay remuneration, including kickbacks
and bribes, directly and indirectly, overtly and covertly, in cash and in kind, in
return for purchasing, ordering, and arranging for, and recommending
purchasing and ordering, any good, service, and item for which payment may

be made in whole and in part by Medicare, as set forth below:

 

 

 

Count Date of Check Amount Speaker Program
Check Number Date/Location

TWO 5/4/2015 30597 $3,000 4/14/2015
Sarasota, FL

Restaurant

THREE 5/5/2015 31021 $3,000 4/28/2015
Sarasota, FL

Restaurant

 

 

 

 

 

 

 

24
Case 8:20-cr-00120-WFJ-JSS Document 67 Filed 02/15/22 Page 25 of 31 PagelID 261

 

 

 

 

Count Date of Check Amount Speaker Program
Check Number Date/Location
FOUR 5/11/2015 S112) $3,000 5/5/2015
Sarasota, FL
Restaurant
FIVE S/ 12/2015 31186 $4,700 5/8/2015
Naples, FL
Restaurant
SIX 6/22/2015 32230 $3,000 6/16/15
Sarasota, FL
Restaurant

 

 

 

 

 

 

 

In violation of 42 U.S.C. § 1320a-7b(b)(2) and 18 U.S.C. § 2.

COUNTS SEVEN THROUGH ELEVEN
(Soliciting and Receiving Remuneration—Kickbacks and Bribes)

Ls Paragraphs | through 11 and 13 of Count One of this
Superseding Indictment are re-alleged and incorporated by reference as though
fully set forth herein.

2. On or about the dates set forth below, in the Middle District of
Florida and elsewhere, the defendant,

STEVEN CHUN,
did knowingly and willfully solicit and receive remuneration, including

kickbacks and bribes, directly and indirectly, overtly and covertly, in cash and

25
Case 8:20-cr-00120-WFJ-JSS Document 67 Filed 02/15/22 Page 26 of 31 PageID 262

in kind, in return for purchasing, ordering, and arranging for, and

recommending purchasing and ordering, any good, service, and item for

which payment may be made in whole and in part by Medicare, as set forth

 

 

 

 

 

 

below:
Count Date of Check Amount Speaker Program
Check Number Date/Location
SEVEN 5/4/2015 30597 $3,000 4/14/2015
Sarasota, FL Restaurant
EIGHT 5/5/2015 31021 $3,000 4/28/2015
Sarasota, FL Restaurant
NINE 5/11/2015 31121 $3,000 5/5/2015
Sarasota, FL Restaurant
TEN 5/12/2015 31186 $4,700 5/8/2015
Naples, FL Restaurant
ELEVEN | 6/22/2015 32230 $3,000 6/16/15
Sarasota, FL Restaurant

 

 

 

 

 

 

In violation of 42 U.S.C. § 1320a-7b(b)(1) and 18 U.S.C. § 2.

1.

COUNTS TWELVE THROUGH SIXTEEN

26

(Identification Fraud)

Paragraphs 1 through 11 and 13 of Count One of this

 
Case 8:20-cr-00120-WFJ-JSS Document 67 Filed 02/15/22 Page 27 of 31 PagelD 263

Superseding Indictment are re-alleged and incorporated by reference as though
fully set forth herein.

2. On or about the dates below, in the Middle District of Florida,
and elsewhere, the defendants,

STEVEN CHUN
and
DANIEL TONDRE,
did knowingly transfer, possess, and use, in and affecting interstate commerce,
without lawful authority, a means of identification of another person,
specifically, the names, signatures, National Provider Identification (NPI)
numbers, and state license number of the licensed practitioners listed below
(by initials), in connection with an unlawful activity that constitutes a
violation of federal law, that is, soliciting and receiving remuneration
(kickbacks and bribes), in violation of 42 U.S.C. § 1320a-7b(b)(1), and offering
and paying remuneration (kickbacks and bribes), in violation of 42 U.S.C. §
1320a-7b(b)(2), as charged above in Counts Two through Eleven, and

conspiracy to do so, in violation of 18 U.S.C. § 371, as charged in Count One,

knowing that such means of identification belonged to the actual persons.

27
Case 8:20-cr-00120-WFJ-JSS Document 67 Filed 02/15/22 Page 28 of 31 PagelD 264

 

 

 

 

 

 

‘Count Date of Speaker Licensed Speaker Program
Program Practitioner _ Location
TWELVE 4/14/2015 J.C. Sarasota, FL
Restaurant
THIRTEEN 4/28/2015 M.M. Sarasota, FL
Restaurant
FOURTEEN 5/5/2015 M.M. Sarasota, FL
Restaurant
FIFTEEN 5/8/2015 J.P Naples, FL
Restaurant
SIXTEEN 6/16/2015 M.D.R. Sarasota, FL
Restaurant

 

 

 

 

 

 

In violation of 18 U.S.C. §§ 1028(a)(7) and 2.
FORFEITURE
1. The allegations contained in Counts One through Sixteen of this
Superseding Indictment are hereby realleged and incorporated by reference for
the purpose of alleging forfeiture pursuant to the provisions of 18 U.S.C.
§ 982(a)(7) and (a)(2)(B).
2. Upon their conviction for any or all of the violations alleged in

Counts One through Eleven of this Superseding Indictment, the defendants,

28
Case 8:20-cr-00120-WFJ-JSS Document 67 Filed 02/15/22 Page 29 of 31 PagelD 265

STEVEN CHUN
and
DANIEL TONDRE,
shall forfeit to the United States of America, pursuant to 18 U.S.C. § 982(a)(7),
all of their interest in any property, real or personal, constituting or derived,
directly or indirectly, from gross proceeds traceable to the commission of the
said violations.

3. Upon their conviction for any or all of the violations alleged in
Counts Twelve through Sixteen of this Superseding Indictment, the
defendants,

STEVEN CHUN
and
DANIEL TONDRE,
shall forfeit to the United States of America, pursuant to 18 U.S.C.
§ 982(a)(2)(B), all of their interest in any property, constituting, or derived
from, proceeds obtained directly or indirectly, as a result of the commission of
the offenses.

4, The specific property to be forfeited includes, but is not limited
to, an order of forfeiture in the amount of proceeds obtained.

5. If any of the property described above, as a result of any act or

omission of defendant:

a. cannot be located upon the exercise of due diligence;

29
Case 8:20-cr-00120-WFJ-JSS Document 67 Filed 02/15/22 Page 30 of 31 PagelD 266

b. has been transferred or sold to, or deposited with a third
party;

a. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or,

e. has been commingled with other property which cannot be

divided without difficulty,
the United States of America shall be entitled to forfeiture of substitute
property under the provisions of 21 U.S.C. § 853(p), as incorporated by 18

U.S.C. § 982(b).

A TRUE BILL,

 

Foreperson

ROGER B. HANDBERG
United States Attorney

 
  
   

Be wo!
Kel , én
Assistant Uni gs Attorney

 

Rachelle DesVaux Bedke
Assistant United States Attorney
Chief, Economic Crimes Section

30
Case 8:20-cr-00120-WFJ-JSS Document 67 Filed 02/15/22 Page 31 of 31 PagelD 267

S26 £98 Odd

 

 

$ eq

 

WYO

 

ZZ07 ‘Arenigaq Jo ep yc] sip uno uado ut pay

 

uosiada10.q

 

(1)(QQL-B0ZET  (Z)(G)4L-B0ZEI 8§ ‘D'S'N ZP pure “(Z)(2)8ZOI ‘IZLE §§ ‘O'S'N BI :suONeIOIA,

ILNAALLOIGNEI ONIGHS aa dns

 

HaYCNOL THINVA
pur ‘NNHO NAAaLS

“SA

VOIMYWV 4O SHLV.LS CHLINA AHL

 

UOISIAIC] edue J,
epHopy JO LOSIC, S[PPIAL
LYNOS LOMILSIC SALVIS GHLINA

SS£-fAM-071-19-07:3 “ON

2z Areniqog
pe-ado Woda
